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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )                8:20CR38
                                           )
      vs.                                  )
                                           )
JACOB A. BRUN,                             )                  ORDER
                                           )
                    Defendant.             )


     This matter is before the court on the Unopposed Motion to Continue Trial [19].
Counsel needs additional time to negotiate a resolution short of a trial. For good cause
shown,

      IT IS ORDERED that the Motion to Continue Trial [19] is granted, as follows:

      1. The jury trial now set for March 30, 2020, is continued to June 1, 2020.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and June 1, 2020, shall be deemed excludable time in any computation
         of time under the requirement of the Speedy Trial Act. Failure to grant a
         continuance would deny counsel the reasonable time necessary for effective
         preparation, taking into account the exercise of due diligence. 18 U.S.C. §
         3161(h)(7)(A) & (B)(iv).

      DATED: February 28, 2020.

                                        BY THE COURT:


                                        s/ Susan M. Bazis
                                        United States Magistrate Judge
